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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 CINDY LANDEEN,                           )
      Petitioner/Counterclaim Defendant,  )
                                          )
       vs.                                )                1:04-cv-1815-LJM-WTL
                                          )
 PHONEBILLIT, INC.,                       )
       Respondent,                        )
 _______________________________________)
 STEVEN V. SANN,                          )
       Respondent/Intervenor/Counterclaim )
       Plaintiff,                         )
                                          )
 NEIL LUCAS,                              )
       Respondent/Intervenor.             )

                           ORDER ON SANN’S RULE 59 MOTION

        This cause is now before the Court on respondent/intervenor/counterclaim plaintiff’s, Steven

 V. Sann (“Sann”), Rule 59 Motion to Amend Judgment or in the Alternative Rule 52(b) Motion for

 Amendment of the Court’s Findings and Conclusions (“Motion to Amend”) (Docket No. 358). In

 his motion, Sann seeks to modify the finding of this Court against Sann on his Objections (Docket

 Nos. 292 & 303) to Receiver’s, Riley Bennett & Egloff by its partner, J. Mark McKinzie (the

 “Receiver”), Report in Partial Settlement of Receivership Proceedings Pursuant to Indiana Code

 Chapter 32-30-5-14 (Docket No. 279). By order dated December 6, 2007, this Court found against

 Sann on said objections and stated that respondent, PhoneBILLit, Inc., was entitled to judgment

 against Sann and his company, Voice Mail Services, Ltd, and/or VMS Ltd. (collectively, “VMS”),

 in the amount of $102,695.90. Sann contends that the Court does not have jurisdiction to enter

 judgment against him or VMS because the asset purchase agreement between VMS and
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 PhoneBILLit was an asset outside the receivership estate and a judgment against Sann and VMS

 would violate his and the company’s due process rights.

        The Court has considered Sann’s arguments and GRANTS in part and DENIES in part

 his Motion to Amend.



                                          I. DISCUSSION

        For purposes of this entry, the Court presumes familiarity with the basic facts of this

 complicated corporate dissolution matter. The Court finds unavailing Sann’s argument that the

 Court did not have jurisdiction to determine the rights of PhoneBILLit and Sann vis-a-vis the Asset

 Purchase Agreement between PhoneBILLit and Sann and his company, VMS. The Asset Purchase

 Agreement was negotiated by the Receiver on behalf of PhoneBILLit for the benefit of its

 shareholders. The terms of the Asset Purchase Agreement make clear that Sann would be liable

 under the agreement via an offset to the same extent as VMS. Successor Rec’r Ex. 5, ¶ 2e.). It is

 under this provision that the Receiver, in his Report in Partial Settlement, claimed that PhoneBILLit

 was due an offset from Sann.

        Furthermore, Sann’s challenge to the Receiver ’s Report in Partial Settlement clearly

 challenged the right of PhoneBILLit to recover under the Asset Purchase Agreement certain sums

 from Sann and/or VMS. It was for the purpose of hearing Sann’s challenge to the Receiver’s

 settlement of PhoneBILLit’s rights under the Asset Purchase Agreement that were the subject of the

 Court’s hearing on Sann’s objections. Sann had ample opportunity both to discover the basis for the

 Receiver’s position and calculations and to present his own challenge to that position and




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 calculations. The Court necessarily interpreted the terms of the Asset Purchase Agreement to

 determine which view of the monies owed PhoneBILLit thereunder was correct.

        To the extent that the Receiver’s Report in Partial Settlement and Sann’s objections thereto

 sought to clarify the amount of a setoff owed PhoneBILLit by Sann, the Court was well within its

 jurisdiction to determine that amount for the reasons stated above. To the extent that the Court

 rendered judgment on the issue as to Sann, because Sann is a party to the litigation to dissolve

 PhoneBILLit, the Court was not in error. To the extent the Court rendered judgment against VMS,

 a non-party to the dissolution process, the Court was in error.



                                        II. CONCLUSION

        For the foregoing reasons, respondent/intervenor/counterclaim plaintiff’s, Steven V. Sann,

 Rule 59 Motion to Amend Judgment or in the Alternative Rule 52(b) Motion for Amendment of the

 Court’s Findings and Conclusions (Docket No. 358) is GRANTED in part and DENIED in part.

 The Court’s December 6, 2007, Order (Docket No. 357) is hereby MODIFIED in that respondent,

 PhoneBILLit, Inc., is entitled to judgment in the form of an offset from only

 respondent/intervenor/counterclaim plaintiff, Steven V. Sann, in the amount of $102,695.90.

        IT IS SO ORDERED this 8th day of April, 2008.



                                                      ________________________________
                                                 ________________________________
                                                 LARRY    J. McKINNEY,
                                                      LARRY    J. McKINNEY, JUDGEJUDGE
                                                 United StatesStates
                                                      United   District  CourtCourt
                                                                     District
                                                 Southern  District
                                                      Southern      of Indiana
                                                                District of Indiana


 Distribution attached.


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